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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


 TIMOTHY KING, et al.,


                        Plaintiffs,       Case No: 2: 20-cv-13134
 -v-                                      Honorable Linda V. Parker


 GRETCHEN WHITMER, in her official
 capacity as Governor of the State of Michigan,
 et al.
                        Defendants,
 and

 CITY OF DETROIT, DEMOCRATIC
 NATIONAL COMMITTEE and
 MICHIGAN DEMOCRATIC PARTY, and ROBERT DAVIS,
                   Intervenor-Defendants.



       ATTORNEY L. LIN WOOD’S SUPPLEMENTAL RESPONSE BRIEF
             PURSUANT TO COURT ORDER (ECF NO. 150)

                               Proof of Service



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       No evidence exists to establish that Mr. Wood was an attorney who filed, or

 participated in the filing of, the pleadings complained of. The statements the court

 currently has before it support the conclusion that Mr. Wood, though he may have

 publicly supported the premise that election fraud occurred in various states across

 the country, did not sign the pleadings here, did not participate in the preparation of

 the complaint or amended complaint, nor did he authorize another to sign the

 complaint for him. Sidney Powell has told the court, on the record, Mr. Wood did

 not participate in this lawsuit. Mr. Wood has told the court, on the record, that he

 did not. The City has not established anything to the contrary in its supplemental

 brief. (ECF No. 164). The motions for sanctions should be dismissed as to Mr.

 Wood.

       I.     The Rohl Affidavit is Based on Hearsay and Carries No Weight

       The City first premises liability for Mr. Wood because of an affidavit attached

 an earlier filed response to the sanctions motion.         The City claimed in its

 supplemental brief that Gregory Rohl swore “that he was asked to assist in ‘litigation

 involving alleged election fraud in Michigan which was being spearheaded by

 Sidney Powell and Lin Wood.’” (ECF No. 164, PageID 6148). That claim misleads

 the court. The City fails to point out that the statement is not from Mr. Rohl but is,

 in actuality, inadmissible hearsay. The entirety of the statement in the affidavit is:

 “That on that date at approximately 6:30 PM, Rohl was contacted by an associate



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 who asked Rohl if he would assist in litigation involving alleged election fraud in

 Michigan which was being spearheaded by Sidney Powell and Lin Wood.” (ECF

 No. 111-1, PageID 4597). Mr. Wood has never met Rohl. Mr. Wood has never

 spoken with Rohl on the telephone.        Rohl was told the litigation was being

 spearheaded by Powell and Mr. Wood, though that was untrue.

       Fed. R. Evid. 802(c) defines “hearsay:” “’Hearsay’ means a statement that:

 (1) the declarant does not make while testifying at the current trial or hearing; and

 (2) a party offers in evidence to prove the truth of the matter asserted in the

 statement.” The City is attempting to prove the truth of the matter asserted – that

 Mr. Wood spearheaded this litigation – by using a statement attributable to no named

 person, a person who said it to Mr. Rohl. Clearly, the reason the City failed to set

 forth the whole statement in its brief is because of this fatal flaw, and the City was

 well-aware of the truism that hearsay affidavits are to be given no weight.

       Even when deciding motions for summary judgment, a relatively lower bar

 than deciding whether to sanction an attorney, Court’s are to give affidavits

 containing hearsay no weight. See Pan–Islamic Trade Corp. v. Exxon Corp., 632

 F.2d 539, 556 (5th Cir.1980) (“It is well established that hearsay evidence in such

 affidavits is entitled to no weight.”); Blair Foods, Inc. v. Ranchers Cotton Oil, 610

 F.2d 665, 667 (9th Cir.1980) (hearsay evidence “is inadmissible and may not be

 considered by this court on review of a summary judgment”); State Mut. Life



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 Assurance Co. of Am. v. Deer Creek Park, 612 F.2d 259, 264–65 (6th Cir.1979)

 (“Affidavits composed of hearsay and opinion evidence do not satisfy Rule 56(e)

 and must be disregarded.”); Rossi v. Trans World Airlines, Inc., 507 F.2d 404, 406

 (9th Cir.1974) (same). Turoff v. May Co., 531 F.2d 1357, 1362 (6th Cir. 1976) (“The

 Glazer affidavit states that the cashiers told him…that May denied stamps for late

 payment. Glazer’s affidavit is pure hearsay and entitled to no weight.”) Therefore,

 a Court should give no weight to an affidavit that contains pure hearsay, such as the

 Rohl affidavit relied upon by the City. Mr. Wood did not spearhead the litigation in

 Detroit.

       II.    The City Failed to Comply with Rule 11 or Rule 5

       Rule 11(c)(2) states:

       A motion for sanctions must be made separately from any other motion
       and must describe the specific conduct that allegedly violates Rule
       11(b). The motion must be served under Rule 5, but it must not be filed
       or be presented to the court….
       Fed. R. Civ. P. 11(c)(2)

       The rule clearly states that the movant must, in the motion, describe the

 specific conduct on which it relies to argue a violation. The City did not do so in its

 “Safe Harbor Letter” of December 15, 2020, and Mr. Wood adopts those arguments

 of law presented by counsel for Mr. Rohl, et al., relating to the inadequacies of the

 City’s letter under Rule 11.




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       Rule 5 dictates the manner in which pleadings are to be served on opposing

 parties:

       (2) Service in General. A paper is served under this rule by: (A) handing
       it to the person; (B) leaving it: (i) at the person's office with a clerk or
       other person in charge or, if no one is in charge, in a conspicuous place
       in the office; or (ii) if the person has no office or the office is closed, at
       the person's dwelling or usual place of abode with someone of suitable
       age and discretion who resides there; (C) mailing it to the person’s last
       known address--in which event service is complete upon mailing; (D)
       leaving it with the court clerk if the person has no known address; (E)
       sending it to a registered user by filing it with the court’s electronic-
       filing system or sending it by other electronic means that the person
       consented to in writing--in either of which events service is complete
       upon filing or sending, but is not effective if the filer or sender learns
       that it did not reach the person to be served; or (F) delivering it by any
       other means that the person consented to in writing--in which event
       service is complete when the person making service delivers it to the
       agency designated to make delivery.
       Fed. R. Civ. P. 5 (Emphasis supplied.)

       The City claims it served Mr. Wood by mail and by sending it to him by email.

 Service by email would clearly be insufficient because Mr. Wood never consented

 to service by email in writing as required by subrule (2)(F). Therefore, the question

 is whether the City complied with subrule (2)(C). It did not.

              A. The City Did Not Mail the Motion to Mr. Wood

       The City asserted in its supplemental brief that it complied with Fed. R. Civ.

 P. 5(b)(1)(C) because it “served the Safe Harbor Letter on December 15, 2020, by

 first class mail.” (ECF No. 164, PageID 6136). The City alleged it used the address

 for Mr. Wood it found in the signature block of the Amended Complaint. (ECF No.



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 164, PageID 6137). The address the City used is not Mr. Wood’s address. P.O. Box

 52584 in Atlanta, Georgia, is a postal box used by Mr. Wood for his business mail,

 but the zip code used by the City was wrong. The zip code the City used was 30305-

 0584. The correct zip code for Mr. Wood’s post office box is 30355.1 His correct

 mailing address is easily attainable by going to Mr. Wood’s website:

 https://www.linwoodlaw.com/contact/.2 The correct address is listed there. The

 service by first class mail never reached Mr. Wood, because the City used the wrong

 mailing address.

                B. The Rule 11 “Motion” Did Not Make Allegations against Mr. Wood

        The City stated in its supplemental brief that it “sent copies of the Safe Harbor

 Letter to email addresses they were able to find for seven of these attorneys.” (ECF

 No 164, PageID 6138).3 Beyond the fact that this “motion” did not comply with the

 Eastern District’s local rules requiring motions to have an accompanying brief (See

 Supplemental Brief of Gregory Rohl, et al., ECF No. 161, PageID 5805-5806), a



 1 Obviously, this discrepancy further highlights the fact that Mr. Wood did not sign the pleadings
 or participate in their preparation. Had he, his mailing address would have been correct, a signature
 line would have been above his name as the ECF rules dictate, and an email address would have
 been included so that Mr. Wood could be assured that he would receive everything that was filed
 in the case.
 2 Last accessed August 3, 2021.
 3 Since the City filed its supplemental brief on July 28, 2021, Mr. Wood’s assistant was made

 aware of the date and email address used by the City in emailing the letter and “motion” to Mr.
 Wood. She has since found the email, and Mr. Wood acknowledges that he received the December
 15, 2020, email discussed in the City’s supplemental brief. However, because he had no
 involvement with the lawsuit in Michigan, he did not read it and had no recollection of receiving
 it.

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 close reading of the “motion” attached to the email reveals that it is directed only at

 Sidney Powell, and not Mr. Wood. The “motion” does not address Mr. Wood

 directly. The “motion” only refers to “counsel” in the singular. Granted, the term

 “counsel” could be read as pertaining to multiple attorneys representing multiple

 plaintiffs – as in “Plaintiffs’ counsel.” However, the City was very clear who the

 “motion” was addressed to.

       On page two of the “motion” (ECF No. 164-4, PageID 6409), the City

 addressed the recipient directly in footnote 1: “Ms. Powell, this paragraph is included

 in our proposed motion in anticipation that you will not concur. If you do concur,

 we will not be filing the Motion.” The City did not address Mr. Wood. The City

 did not seek concurrence from Mr. Wood. The City did not serve Mr. Wood. Any

 attorney reading the “motion” in a commonsense manner would not conclude that

 the City was seeking Rule 11 sanctions from anyone other than Sidney Powell. The

 City stated it sent emails to seven attorneys, but it only sought concurrence from one,

 the same attorney who has told this Honorable Court on the record that she is

 responsible for the filing of this lawsuit. The City failed to comply with the safe

 harbor provision of Rule 11 and never notified Mr. Wood that the Defendants were

 seeking sanctions against him. This Honorable Court should ultimately dismiss the

 motions against Mr. Wood.

              C. Tweets by Mr. Wood Do Not Satisfy the Defendants’ Responsibility
                 to Comply with the Rules

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                     i.    The Tweet on December 15, 2020

        The City quotes two tweets by Mr. Wood that it claims establish Mr. Wood’s

  actual knowledge of the existence of the sanctions motion. (ECF No. 164, PageID

  6138-6139). Putting aside the fact that he was never properly served with the

  “motion,” all that the quoted tweets establish is that Mr. Wood may have seen

  internet reports of the fact that the Defendants were intending to file sanctions

  motions in Michigan. The City stated in their supplemental response, “…Marc Elias

  tweeted a copy of the entire Safe Harbor Letter, with the attached Rule 11 Motion.”

  (ECF No. 164, PageID 6138). In reality, on December 15, 2020, a website called

  “Law and Crime” posted, according to the City’s Exhibit 4, “The motion has not yet

  been filed, and it was briefly tweeted out by Marc Elias, an attorney from the

  Washington-based firm Perkins Coie….” All that the City’s exhibit says is that their

  “motion” was briefly tweeted out. This Honorable Court should not rely on such

  vague innuendos to supplant the Defendants’ responsibility to comply with the

  Federal Rules.

        The City also stated in its supplemental brief that on the same day Mr. Wood

  tweeted “…a link to an article containing a copy of the City’s Safe Harbor

  Letter,….” (ECF No. 164, PageID 6138). The “article” referred to is the City’s

  Exhibit 4. The “article” does not “contain a copy of the City’s Safe Harbor Letter.”

  (ECF 164-5, PageID 6418-6422). Undersigned counsel has verified each of the six

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  links4 contained in the City’s Exhibit 4 (except the advertisements), and none of

  them link to a copy of the “Safe Harbor Letter.” The City’s statement is false. Five

  of the six links take the reader to other postings by “Law and Crime” concerning

  related articles. Only one, “thunder,” links to a document – Mr. Fink’s “The City

  Election Commission of the City of Detroit and Janice Winfrey’s Motion for

  Summary Disposition” filed in the Wayne County Circuit Court. Stoddard, et al. v.

  City Election Commission, et al., Case No. 20-014604-CZ. Nowhere does the

  posting contain a link to the Safe Harbor Letter. Therefore, Mr. Wood’s tweet, with

  the link to the Law and Crime posting, does not itself contain a copy of the letter as

  the City would have this Honorable Court believe.

                       ii.     The Tweet on January 5, 2021

         The City would have this Court equate the fact that Mr. Wood may have heard

  that a sanctions motion was filed in Michigan against Sydney Powell with “actual

  notice” that the City was seeking sanctions against him. In reality, the first that Mr.

  Wood had any inkling that he was the target of a Rule 11 motion in Michigan was

  when the City filed it on January 5, 2021, and it was broadcast online. His response

  is appropriate and in line with Mr. Wood’s position from the beginning of this Rule




  4 The links are identified “the Biden campaign,” (ECF No. 164, PageID 6419); “dismissed
  Powell’s litigation,” (Id. at 6419); “Spyder,” (Id. at 6420); “turn the tables,” (Id. at 6421);
  “thunders,” (Id. at 6421); “pro-Trump non-profits,” (Id. at 6422).



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  11 litigation – he was not part of it. The City quotes Mr. Wood as stating that the

  Rule 11 motion was unfair. (ECF No. 164, PageID 6139). The City neglects to

  share the entirety of Mr. Wood’s tweet – that he had only been to Detroit one time

  to take depositions for a defamation case he was handling. (ECF No. 164-7, PageID

  6426). The fact that Mr. Wood had only become aware of the Rule 11 motion on

  the day it was filed demonstrates that the City had failed to follow the safe harbor

  provisions of the Rule.

         The City demonstrated again that Mr. Wood knew of the sanctions motion

  after it was filed. It states, “Notably, in the New York federal court, Wood was fully

  aware of the pending sanctions motion about which he now claims ignorance. There

  on January 11, 2021,….” (ECF No. 164, PageID 6151, n. 6). There is no dispute

  Mr. Wood was made aware of the existence of a sanctions motion on January 5,

  2021. That knowledge does not satisfy the Defendants’ and Intervenor Defendants’

  responsibility to comply with the requirements of the safe harbor provisions of Rule

  11.

                                         CONCLUSION

         The City continued in its supplemental brief to rely upon one ad hominem

  attack after another against Mr. Wood, violating itself the civility principles 5 it


  5 “We will treat all other counsel, parties and witnesses in a civil and courteous manner, not only
  in court, but also in all other written and oral communications.” E.D. Admin. Order 08-AO-009,
  Attorneys’ Responsibilities to Other Counsel, ¶ 1 (January 23, 2008).

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  argues were not followed by counsel in this litigation. The City referred to Mr.

  Wood as a “bully” (ECF No. 164, PageID 6151), called him “cowardly” (Id.), said

  he was “unhinged” (ECF 164, PageID 6152) and called all of the lawyers

  “detached.” (Id.). The personal attacks, unfortunately, only serve to inflame the

  reader rather than arguing the facts this Honorable court has before it – none of which

  prove that Mr. Wood authored or otherwise legally advocated before this Court in

  this litigation. He did not, and the Court may not sanction him as if he did. The

  Court should dismiss the various motions as they relate to Mr. Wood.

                                          Respectfully submitted,



                                          /s/Paul J. Stablein
                                          Paul Stablein
                                          Attorney for Mr. Wood
  DATED:       August 4, 2021




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                                 PROOF OF SERVICE

        I, Paul Stablein, certify that the foregoing document(s) was filed and served

  via the Court's electronic case filing and noticing system (ECF) this 4th day of

  August, 2021, which will automatically send notification of such filing to all

  attorneys and parties of record registered electronically, and to any counsel not

  registered to receive electronic copies from the court, by enclosing same in a

  sealed envelope with first class postage fully prepaid, addressed to the above, and

  depositing said envelope and its contents in a receptacle for the US Mail.

                                         Respectfully submitted,



                                         /s/Paul J. Stablein
                                         Paul Stablein
                                         Attorney for Mr. Wood
  DATED:       August 4, 2021




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